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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
 STEWART SMITH,                                  :             CIVIL ACTION
                                                 :
               Plaintiff,                        :
                                                 :
                      v.                         :             No. 19-cv-1170
                                                 :
 EGV COMPANIES, INC.,                            :
                                                 :
               Defendant.                        :
                                                 :

                                            ORDER

      AND NOW, this 23rd day of May, 2019, following a conference conducted pursuant to

Federal Rule of Civil Procedure 16, is hereby ORDERED that:

         1. Plaintiff shall provide his proposed Amended Complaint to Defendant on or before

             June 7, 2019;

         2. The parties shall meet and confer to discuss the basis of Plaintiff’s claims in light of

             the proposed Amended Complaint, and file a joint letter updating the Court of such

             efforts on or before June 17, 2019; and

         3. A scheduling order will be issued once all pleadings have been filed.




                                                       BY THE COURT:



                                                       /s/ Mitchell S. Goldberg

                                                       MITCHELL S. GOLDBERG, J.




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